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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    Chapter 11
    In re:
                                                                    Case No. 23-11069 (CTG)
    YELLOW CORPORATION, et al., 1
                                                                    (Jointly Administered)
                                     Debtors.
                                                                    Re: Docket No. 1121

      CERTIFICATE OF NO OBJECTION REGARDING THE SECOND MONTHLY
    FEE APPLICATION OF BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP,
    FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
        EXPENSES INCURRED AS DELAWARE COUNSEL TO THE OFFICIAL
          COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
           FROM SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023

             The undersigned hereby certifies that, as of the date hereof, no answer, objection or other

responsive pleading has been received to the Second Monthly Fee Application of Benesch,

Friedlander, Coplan & Aronoff LLP, for Compensation for Services Rendered and Reimbursement

of Expenses Incurred as Delaware Counsel to the Official Committee of Unsecured Creditors for

the Period from September 1, 2023 Through September 30, 2023 [Docket No. 1121] (the

“Application”) filed on November 10, 2023. The undersigned further certifies that after reviewing

the Court’s docket in these cases, no answer, objection, or other responsive pleading to the

Application appears thereon.

             Pursuant to the Notice of Second Monthly Fee Application of Benesch, Friedlander, Coplan

& Aronoff LLP, for Compensation for Services Rendered and Reimbursement of Expenses

Incurred as Delaware Counsel to the Official Committee of Unsecured Creditors for the Period




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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.
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from September 1, 2023 Through September 30, 2023 [Docket No. 1121-3], objections to the

Application were to be filed and served no later than December 1, 2023, at 4:00 p.m. (ET).

       Pursuant to the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and (II) Granting Related Relief [Docket

No. 519], the Debtors are authorized to pay eighty percent (80%) of the fees and one hundred

percent (100%) of the expenses requested in the Application upon the filing of this Certificate of

No Objection and without the need for entry of a Court order approving the Application.

 Dated: December 5, 2023
 Wilmington, Delaware

 BENESCH, FRIEDLANDER,                              AKIN GUMP STRAUSS HAUER & FELD LLP
     COPLAN & ARONOFF LLP
                                                    Philip C. Dublin (pro hac vice)
 /s/ John C. Gentile                                Meredith A. Lahaie (pro hac vice)
 Jennifer R. Hoover (DE No. 5111)                   Kevin Zuzolo (pro hac vice)
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 Counsel to the Official Committee of Unsecured Creditors




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